

Matter of Joycelyn E. v Julianne R. (2025 NY Slip Op 00150)





Matter of Joycelyn E. v Julianne R.


2025 NY Slip Op 00150


Decided on January 09, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 09, 2025

Before: Manzanet-Daniels, J.P., Pitt-Burke, Higgitt, Rosado, Michael, JJ. 


Docket No. V10087/23 Appeal No. 3470 Case No. 2024-00923 

[*1]In the Matter of Joycelyn E., Petitioner-Appellant,
vJulianne R. et al., Respondents-Respondents.


Joycelyn Engle Di Palma, appellant pro se.
The Wallack Firm, P.C., New York (Michael Belmont of counsel), for respondents.
Dawne A. Mitchell, The Legal Aid Society, New York (Diane Pazar of counsel), attorney for the child.



Appeal from order, Family Court, New York County (Hasa A. Kingo, J.), entered on or about January 8, 2024, which sua sponte dismissed petitioner's petition for visitation with her granddaughter with prejudice, unanimously dismissed, without costs, as taken from a nonappealable order.
An order issued sua sponte does not decide a motion made on notice and therefore is not appealable as of right (see CPLR 5701[a][2]; Sholes v Meagher, 100 NY2d 333, 335 [2003]). The proper procedure for seeking review of a sua sponte order is to first move to vacate the sua sponte order, and thereafter take an appeal as of right pursuant to CPLR 5701(a)(3) from the subsequent order based on the record developed on the motion (see Sholes at 335; Board of Educ. of the City Sch. Dist. of the City of N.Y. v Grullon, 117 AD3d 572, 573 [1st Dept 2014]). As the record is insufficient for review, we decline to treat the notice of motion as a request for leave to appeal in the interest of justice (see e.g. Hladun-Goldmann v Rentsch Assoc., 8 AD3d 73, 73-74 [1st Dept 2004]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 9, 2025








